UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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VICENTE, et al.,                                               :
                                                               :
                          Plaintiffs,                          :   No. 18-CV-0419 (VSB)(OTW)
                                                               :
                      -against-                                :   REPORT & RECOMMENDATION
                                                               :
LJUBICA CONTRACTORS LLC, et al.,
                                                               :
                         Defendants.                           :
                                                               :
                                                               :
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         ONA T. WANG, United States Magistrate Judge:

         On May 16, 2019, this Court granted Plaintiffs’ motion for sanctions and ordered

Defendants and Mr. DeMaio to pay $3,678.28 to Plaintiffs’ counsel by July 1, 2019. (ECF 44).

Plaintiffs’ counsel informed the Court on July 9, 2019 that Defendants had not yet paid

Plaintiffs’ counsel in direct violation of the Court’s May 16, 2019 Order. (ECF 50).

         Therefore, on July 25, 2019, the Court issued an Order to Show Cause, directing

Defendants to show cause by August 6, 2019 why further sanctions should not be imposed for

Defendants failing to pay Plaintiffs’ counsel in accordance with the Court’s May 16, 2019 Order.

(ECF 51). The Order to Show Cause noted that such sanctions may include additional monetary

sanctions as well as a recommendation to Judge Broderick that Plaintiffs’ pending motion for

summary judgment (ECF 47) be considered unopposed. (Id.). To date, Defendants have not

responded to the Order to Show Cause. Thus, I recommend that Judge Broderick consider

Plaintiff’s pending motion for summary judgment as unopposed. (ECF 47).

         In accordance with 28 U.S.C. § 636 (b) (1) and Fed. R. Civ. P. 72 (b), the parties shall have

fourteen (14) days (including weekends and holidays) from receipt of this Report to file written
objections. See also Fed. R. Civ. P. 6 (allowing three (3) additional days for service by mail). A

party may respond to any objections within fourteen (14) days after being served. Any requests

for an extension of time for filing objections must be directed to Judge Broderick.

       FAILURE TO FILE OBJECTIONS WITHIN FOURTEEN (14) DAYS WILL RESULT IN A WAIVER

OF OBJECTIONS AND WILL PRECLUDE APPELLATE REVIEW. (See Thomas v. Arn, 474 U.S. 140,

155 (1985); IUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049, 1054 (2d Cir. 1993); Frank v.

Johnson, 968 F.2d 298, 300 (2d Cir. 1992); Wesolek v. Canadair Ltd., 838 F.2d 55, 58 (2d Cir.

1988); McCarthy v. Manson, 714 F.2d 234, 237-38 (2d Cie. 1983)).




       SO ORDERED.



                                                             s/ Ona T. Wang
Dated: August 20, 2019                                     Ona T. Wang
       New York, New York                                  United States Magistrate Judge
